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                                                                      DIETRIGTOFNEVADA
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                            UN ITED STA TES DISTRIC T C O U R T
                                     DIST R IC T O F NEV A DA
 UNITED STATESOFAM ERICA,                        )
                                                 )
                       Plaintiff,                )
                                                 )
                                                 )        2:08-CR-307-PM P (PAL)
                                                 )
 KRYSTALYN NORTHW ICL                            )
                                                 )
                       Defendant.                )
                                    O R DER O F FO R FEIT UR E
        ThisCourtfoundon April5,2010,thatKRYSTALYN NORTHW ICK shallpay acrim inal
 forfeituremoneyjudgmentof$80,000.00 inUnited StatesCurrency,pursuantto Fed.R.Crim.P.
 32.2(b)(1)and(2)azldTitle18,UnitedStatescode,Section982(a)(2)(B).
        THEREFORE,IT ISHEREBY ORDERED,ADJUDGED,AND DECREED thattheUnited

 Statesrecov71
             erfr
                PJ
                om'7KLISTALYN NORTHWICK acriminalforfeituremoneyjudgmentinthe
                       -

 amountof$ , . inUnitedStatesCurrencypursuanttoFed.R.Crim.P.32.2(b)(4)(A)and(B);
 Title 18,United Statescode,Section982(a)(2)(B).
        D A TED this   CJKdayof                          ,   2010.




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                                             tJNlT   STATES Dlsrrltlc'fjUDGE               -
